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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    RIVERBED TECHNOLOGY, INC., et al.,1                              )     Case No. 21-11503 (CTG)
                                                                     )
                             Reorganized Debtors.                    )     (Jointly Administered)
                                                                     )     Re: Docket No. 249

       REORGANIZED DEBTORS’ MOTION TO SHORTEN NOTICE PERIOD AND
    SCHEDULE EXPEDITED HEARING ON REORGANIZED DEBTORS’ MOTION FOR
    ENTRY OF A FINAL DECREE CLOSING THE CHAPTER 11 CASES PURSUANT TO
     SECTION 350(a) OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3022

             The above-captioned reorganized debtors (collectively, the “Reorganized Debtors,” and

before the Effective Date2 of the Plan, the “Debtors”) file this motion for entry of an order pursuant

to Rule 9006(c)(1) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and

Rule 9006-1(e) of the Local Rules of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), shortening the notice period and scheduling an expedited hearing

on the Reorganized Debtors’ Motion for Entry of a Final Decree Closing the Chapter 11 Cases

Pursuant to Section 350(a) of the Bankruptcy Code and Bankruptcy Rule 3022 (the “Motion”),

which is being filed concurrently herewith, so that the United States Bankruptcy Court for the

District of Delaware (the “Court”) can consider the relief requested in the Motion at a hearing prior

to the end of March 2022, in advance of the end of the current fiscal quarter. Counsel for the



1     The reorganized debtors in these chapter 11 cases, along with the last four digits of each reorganized debtor’s
      federal tax identification number, are: Riverbed Technology, Inc. (8754); Aternity LLC (8754); Riverbed
      Holdings, Inc. (6675); and Riverbed Parent, Inc. (2610). The location of the reorganized debtors’ service address
      in these chapter 11 cases is: 680 Folsom Street, San Francisco, CA 94107.

2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Amended
      Joint Prepackaged Chapter 11 Plan of Reorganization of Riverbed Technology, Inc. and Its Debtor Affiliates
      [Docket No. 144] (as amended, supplemented, or otherwise modified from time to time, the “Plan”) or the Motion,
      as applicable.
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Reorganized Debtors has conferred with the Office of the United State Trustee and the United

States Trustee does not oppose the relief requested in this motion. In support of this motion, the

Reorganized Debtors respectfully state as follows.

                                         Relief Requested

       1.      By this motion, the Reorganized Debtors request, pursuant to section 105(a) of

title 11 of the United States Code, U.S.C. §§ 101–1532 (the “Bankruptcy Code”), Bankruptcy Rule

9006(c)(1), and Local Rule 9006-1(e), that the Court enter an order, substantially in the form

attached hereto as Exhibit A, shortening the notice period, and fixing the date and time, for an

expedited hearing on the Motion on or before March 31, 2022 (the “Hearing”), with an objection

deadline at 4:00 p.m. (prevailing Eastern Time) on the day that is seven (7) calendar days before

the Hearing (the “Objection Deadline”).

                                     Jurisdiction and Venue

       2.      The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012. The Reorganized Debtors confirm their consent,

pursuant to Local Rule 9013-1(f), to the entry of a final order by the Court in connection with this

motion to the extent that it is later determined that the Court, absent consent of the parties, cannot

enter final orders or judgments in connection herewith consistent with Article III of the United

States Constitution.

       3.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

       4.      The statutory bases for the relief requested herein are section 105(a) of the

Bankruptcy Code, Bankruptcy Rule 9006(c)(1), and Local Rule 9006-1(e).


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                                    General Background

       4.     On November 16, 2021 (the “Petition Date”), each of the Debtors filed voluntary

petitions for relief under chapter 11 of the Bankruptcy Code. During the pendency of their

chapter 11 cases, the Debtors operated their business and managed their properties as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No party requested the

appointment of a trustee or examiner and no official committees were appointed in these

chapter 11 cases.

       5.     On November 18, 2021, the Court entered an order granting procedural

consolidation and joint administration of the following cases under In re Riverbed Technology,

Inc. [Docket No. 79]:

                                  Debtor                         Case No.
                Riverbed Technology, Inc.                     21-11503 (CTG)
                Aternity LLC                                  21-11504 (CTG)
                Riverbed Holdings, Inc.                       21-11505 (CTG)
                Riverbed Parent, Inc.                         21-11506 (CTG)

       6.     On December 4, 2021, the Court entered the Order (I) Approving the Disclosure

Statement for, and Confirming, the Amended Joint Prepackaged Chapter 11 Plan of

Reorganization of Riverbed Technology, Inc. and Its Debtor Affiliates, and (II) Granting Related

Relief [Docket No. 169].

       7.     The Plan became effective on December 7, 2021 (the “Effective Date”). See Notice

of (I) Entry of Order Approving the Debtors’ Disclosure Statement For, and Confirming, the

Debtors’ Amended Joint Prepackaged Plan of Reorganization Pursuant to Chapter 11 of the

Bankruptcy Code and (II) Occurrence of Effective Date [Docket No. 173].



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       8.      As of the date hereof, the Reorganized Debtors have resolved or Reinstated all

outstanding prepetition claims and made all applicable distributions on account of such claims in

a manner consistent with the Plan. The services of Stretto, Inc. (“Stretto”) will terminate upon

Stretto completing the services set forth in the Final Decree. All matters related to professional

fees have been resolved and no administrative claims have been filed. Moreover, pursuant to

Article III.B of the Plan, the Reorganized Debtors will continue to resolve any outstanding claims

in the ordinary course of their businesses. Accordingly, there are no remaining matters to be

addressed in these chapter 11 cases. Leaving these chapter 11 cases open past March 31, 2022

would impose significant and unnecessary costs on the Debtors’ estates.             Therefore, the

Reorganized Debtors request a Hearing on the Motion on an expedited basis to avoid incurring

unnecessary costs associated with these chapter 11 cases that will accrue if such cases remain open

beyond March 31, 2022.

                                Closing these Chapter 11 Cases

       9.      Through the Motion, the Reorganized Debtors seek entry of a Final Decree closing

these chapter 11 cases.

                                         Basis for Relief

       10.     Pursuant to Bankruptcy Rule 9006, the Court may, for cause shown, shorten the

otherwise applicable notice period for motion papers. Fed. R. Bankr. P. 9006(c)(1) (“when an act

is required or allowed to be done at or within a specified time by these rules or by a notice given

thereunder or by order of court, the court for cause shown may in its discretion with or without

motion or notice order the period reduced”). Similarly, Local Rule 9006-1(e) provides that the

Court may shorten the notice period “on written motion (served on all interested parties) specifying

the exigencies justifying shortened notice.” Del. Bankr. L.R. 9006-1(e).
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       11.       The time has come to close these chapter 11 cases because there are no remaining

matters to be resolved. In order to minimize accruing administrative costs and U.S. Trustee

quarterly fees associated with remaining in chapter 11, the Reorganized Debtors are focused on

closing their respective chapter 11 cases no later than March 31, 2022, which is the last day of the

first quarter of 2022.

       12.       Given that the Effective Date has occurred, all prepetition claims and have been

resolved or Reinstated, and there are no other administrative, claim or litigation matters to be

addressed in chapter 11 by the Reorganized Debtors, there are no reasons for the Reorganized

Debtors to continue in chapter 11. Further, as set forth in the Motion, the Reorganized Debtors

have assumed the Debtors’ liabilities and have sufficient reserves to address any issues after the

entry of the Final Decree.

       13.       Although the Reorganized Debtors are seeking to shorten the time between the

filing of the Motion and the Hearing, the request to close these chapter 11 cases should come as

no surprise to any interested party given that there has been little activity in these chapter 11 cases

since Effective Date. Additionally, while the Reorganized Debtors are seeking to shorten the

notice time for the Hearing on the Motion, interested parties will still have enough time to respond

to the Motion.

       14.       Accordingly, the Reorganized Debtors submit that it is appropriate under the

circumstances to shorten the notice period to consider the relief requested in the Motion at the

Hearing on or prior to March 31, 2022.




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                                       Local Rule 9006-1(e)

          15.   Pursuant to Local Rule 9006-1(e), the Reorganized Debtors’ counsel conferred with

the U.S. Trustee regarding this motion and the U.S. Trustee does not oppose the relief requested

herein.

                                               Notice

          16.   The Reorganized Debtors shall provide notice of this motion and the notice of the

Hearing on the Motion to the following parties or their respective counsel: (a) the U.S. Trustee

for the District of Delaware; (b) the holders of the 30 largest unsecured claims against the

Reorganized Debtors (on a consolidated basis); (c) the Ad Hoc Group and the Ad Hoc 1L

Subgroup; (d) the agents under each of the Reorganized Debtors’ prepetition secured credit

facilities; (e) the indenture trustee under the Unsecured Notes Indenture; (f) the office of the

attorney general for each of the states in which the Reorganized Debtors operate; (g) the United

States Attorney’s Office for the District of Delaware; (h) the Internal Revenue Service; and (i) any

party that has requested notice pursuant to Bankruptcy Rule 2002. The Reorganized Debtors

submit that, in light of the nature of the relief requested, no other or further notice need be given.




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         WHEREFORE, the Reorganized Debtors respectfully request the entry of an order,

  substantially in the form attached hereto as Exhibit A, and for such other and further relief as may

  be appropriate.

Dated: March 15, 2022                 /s/ Laura Davis Jones
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